   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 1 of 26



               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MARYLAND
                        SOUTHERN DIVISION

________________________________________________________
Crystal Long                              *
                                          *
              Plaintiff,                  *     Case No.: 8:17-cv-01955-GJH
                                          *
v.                                        *
                                          *
Pendrick Capital Partners II, LLC, et al. *
                                          *
              Defendants.                 *
__________________________________________*




          PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF HER
               MOTION FOR PARTIAL SUMMARY JUDGMENT




                                    1
        Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 2 of 26




                                                         TABLE OF CONTENTS

INTRODUCTION ...................................................................................................................... 1

STATEMENT OF MATERIAL FACTS .............................................................................. 2

   I.         Crystal Long’s Background ...................................................................................................... 2

   II.        Initial Debt Collection Efforts .................................................................................................. 3

   III.        Plaintiff’s Direct Dispute.......................................................................................................... 4

   IV.          Credit Reporting and Disputes .............................................................................................. 5

   V.         Procedural Background ............................................................................................................. 8

STANDARD OF REVIEW ...................................................................................................... 8

ARGUMENT ............................................................................................................................... 9

   I.     Ability Violated the FCRA .......................................................................................................... 9

         A.        Ability Received Notice of Plaintiff’s Disputes ...........................................................................9

         B.        Ability Reported Inaccurate Information ..................................................................................... 10

         C.        Ability Failed to Reasonably Reinvestigate Plaintiff’s Disputes ......................................... 11

         D.        Ability’s’ Actions Were Willful ..................................................................................................... 14

   II.        Defendants Violated the FDCPA .......................................................................................... 15

         A.        Plaintiff Is A Consumer .................................................................................................................... 16

         B.        Defendants Are Debt Collectors Engaged in Debt Collection .............................................. 16

              1.      Ability’s Principal Purpose Is Collection of Debts on Behalf of Others ........................................ 17

              2.      Pendrick’s Principal Purpose Is the Collection of Debts ...................................................................... 17

         C.        Defendants Violated FDCPA § 1692(f) ....................................................................................... 18

         E.        Defendants Violated FDCPA § 1692e .......................................................................................... 20

CONCLUSION ........................................................................................................................ 21


                                                                                 i
       Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 3 of 26



                                                  TABLE OF AUTHORITIES


CASES

Akalwadi v. Risk Mgmt. Alts., Inc., 336 F. Supp. 2d 492 10 (D. Md. 2004) ....................9, 16

Alston v. Branch Banking & Tr. Co., No. GJH-15-3100, 2016 U.S. Dist. LEXIS 115074
  (D. Md. Aug. 26, 2016) ....................................................................................................... 9, 13, 15

Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) .................................................................. 9

Bouchat v. Baltimore Ravens Football Club, Inc., 346 F.3d 514 (4th Cir. 2003) ................. 8

Bradshaw v. Hilco Receivables, LLC, 765 F. Supp.2d 719 (D. Md. 2011) .......................... 16

Creighton v. Emporia Credit Serv., Inc., 981 F. Supp. 411 (E.D. Va. 1997) ............... 17, 21

Davenport v. Sallie Mae, Inc., No. PJM 12-1475, 2013 U.S. Dist. LEXIS 111510 (D. Md.
  Aug. 2, 2013)...................................................................................................................................... 10

Davis v. Midland Funding, LLC, 41 F. Supp. 3d 919, 926 (E.D. Cal. 2014) ................ 19, 20

Dikun v. Streich, 369 F. Supp. 2d. 781, 784-85 (E.D. Va. 2005) ............................................ 16

Gorman v. Wolpoff & Abramson, LLP, 584 F.3d 1147, 1164 (9th Cir. 2009) ............. 10, 11

Hinkle v. Midland Credit Mgmt., Inc., 827 F.3d 1295, 1303 (11th Cir. 2016). ................... 12

Janetos v. Fulton Friedman & Gullace, LLP, 825 F.3d 317, 325 (7th Cir. 2016) ............. 18

Johnson v. Bullhead Investments, LLC, No. 1:09CV639, 2010 WL 118274, at *6
  (M.D.N.C. Jan. 11, 2010) ............................................................................................................... 19

Johnson v. MBNA Am. Bank, NA, 357 F.3d 426, 430 (4th Cir. 2004) ................................... 13

Loginter S.A. Y Parque Indus. Agua Profunda S.A. Ute v. M/V NOBILITY, 177 F. Supp.
  2d 411, 414 (D. Md. 2001) ................................................................................................................ 9

Pollice v. Nat'l Tax Funding, L.P., 225 F.3d 379, 405 (3d Cir. 2000) ................................... 18

Richardson v. Rosenberg & Assocs. LLC, No. CIV. WDQ-13-0822, 2014 WL 823655, at
  *5 (D. Md. Feb. 27, 2014) .............................................................................................................. 18




                                                                          ii
       Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 4 of 26



Robertson v. J.C. Penney Co., No. 2:06cv3KS-MTP, 2008 U.S. Dist. LEXIS 17159, at
  *23-24 (S.D. Miss. Mar. 4, 2008) ................................................................................................ 14

Russell v. Absolute Collection Servs., Inc., 763 F.3d 385, 394 (4th Cir. 2014). ................. 20

Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 69 (2007)....................................................... 14, 15

Saunders v. Branch Banking & Tr. Co., 526 F.3d 142, 148 (4th Cir. 2008) ........................ 10

Scott v. Harris, 550 U.S. 372, 378 (2007) ......................................................................................... 9

Seamans v. Temple Univ., 744 F.3d 853, 865 (3d Cir. 2014) ................................................... 10

United States v. Nat'l Fin. Servs., Inc., 98 F.3d 131, 136 (4th Cir.1996) ....................... 20, 21

Wood v. Credit One Bank, Civil Action No. 3:15cv594, 2017 U.S. Dist. LEXIS 154468,
 at *56-57 (E.D. Va. Sep. 21, 2017).............................................................................................. 13

STATUTES

15 U.S.C. § 1681i(a)(2 ......................................................................................................................... 10

15 U.S.C. § 1681s-2(b) ....................................................................................................................9, 12

15 U.S.C. § 1692a(5) ............................................................................................................................ 16

15 U.S.C. § 1692e.................................................................................................................................. 20

15 U.S.C. § 1692f(1)............................................................................................................................. 18

 RULES

Fed. R. Civ. P. 56 ................................................................................................................................. 1, 8




                                                                          iii
    Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 5 of 26




        Plaintiff Crystal Long (“Plaintiff”), by and through undersigned counsel and

pursuant to Fed. R. Civ. P. 56 hereby moves this Court for partial summary judgment and

in support thereof, states:

                                    INTRODUCTION


        Defendants Ability Recovery Services, LLC (“Ability”) and Pendrick Capital

Partners II, LLC (“Pendrick”) have adopted a “shoot first, ask questions later” system of

debt collection and credit reporting. Such obliviousness mistaken identity concerns

would be problematic on its own. But Ability makes no effort to ask questions even after

the fact. Defendants here pursued Plaintiff for a debt that did not belong to her, based

solely on a common name and a skip-traced address. When presented with evidence that

Plaintiff’s identifying information did not match that associated with the debt, Defendants

persevered, reporting and then verifying on three separate occasions derogatory credit

information on Plaintiff’s credit report.

        Ability engages in all manner of buck-passing, but it cannot escape the hard

evidence that Plaintiff did not owe the debt in question and the reporting and

reinvestigation requirements imposed on it by the Fair Credit Reporting Act (“FCRA”).

Ability failed to apply even basic information-matching protocols, compounding

repeatedly its abdication of responsibility that can only be classified as willful.

        Similarly, both Defendants, directly or vicariously, used the threat of credit

reporting as a coercive, abusive, and deceptive means of attempting to collect a debt from

Plaintiff that was not hers. The Fair Debt Collection Practices Act (“FDCPA”)

specifically contemplates and prohibits precisely this type of behavior.


                                              1
     Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 6 of 26



       The facts of this case, replete with admissions from Defendants, are

straightforward and indisputable. Accordingly, Plaintiff respectfully requests that this

Court granted her Motion for Partial Summary Judgment as to her claims under the

FCRA and FDCPA.



                        STATEMENT OF MATERIAL FACTS
I.     Crystal Long’s Background

       Plaintiff lives at 12704 Fairwood Parkway in Bowie Maryland. She has lived

there for five years, and she has no children or dependents. Long Deposition Transcript,

attached as Exh. A to the Declaration of Ingmar Goldson (“Goldson Decl.”), at 8:2-17.

Her date of birth is                 , and her Social Security number ends in        .

January 31, 2017 Dispute Letters, attached as Exh. B to the Goldson Decl.; Affidavit of

Crystal Long, attached as Exh. C to the Goldson Decl. C, at ¶¶ 3-4. Plaintiff has a

master’s degree in Business and currently works at Trusted Health Plans as the director of

health plan accounting, where she runs the finance department. Goldson Decl. Exh. A, at

9:10, 10:12-11:16. Plaintiff reports directly to the chief financial officer of Trusted Health

Plans, and handles millions of dollars in transactions on a regular basis. Id. at 12:10,

22:3-9. Because of the financial responsibility involved in her job, Plaintiff’s position

requires a high level of trust. Goldson Decl. Exh. A, at 22:20-23:4. Accordingly, when

Plaintiff applied for a position at Trusted Health Plans, she signed a document giving her

employer permission to check her credit. Goldson Decl. Exh. A, at 15:1-3, 22:20-23:24.

Plaintiff has never worked for the Department of Corrections. Goldson Decl. Exh. C, at ¶

5.




                                              2
      Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 7 of 26



II.     Initial Debt Collection Efforts

        Pendrick has stated that the principal purpose of its business is to purchase

delinquent accounts from physician groups, hospitals and ambulance companies.

Pendrick’s Discovery Responses, attached as Exh. D to the Goldson Decl., at

Interrogatory Nos. 22, 23. Without exception, Pendrick places each account with

collections agencies to collect the debt on its behalf. Id. at Interrogatory Nos. 17, 24,

Request for Admission No. 11.


        During a conference with the Court on January 25, 2018, Ability stipulated that it

is a debt collector. Goldson Decl. ¶ 3. Ability’s website uses the tagline, “The

Collection Agency with a Sense of Urgency.” Home Page, Ability Recovery Services,

LLC, at http://abilityrecoveryservices.com/ (March 26, 2018). Ability is registered with

the State of Maryland as a collection agency with license # 04-6393. Ability collects

“about 500,000” different debt accounts on behalf of Pendrick. Nanfeldt Deposition

Transcript, attached as Exh. E. to the Goldson Decl., at 15:4. Of Ability’s 37 employees,

30 are debt collectors. Id. at 9:8-11. To effectuate its collections, Ability used a program

called “Debt Master,” which automatically pulls personal identification information such

as Social Security number, date of birth, address, phone numbers, and skip tracing

information when the consumer calls. Carlson Deposition Transcript, attached as Exh. F

to the Goldson Decl., at 11:5, 13:1-7, 18:12.


        In or before November 2016, Pendrick purchased medical debt from EmCare-

Randall Emergency Physicians belonging to a “Crystal Long” who lived at 5126 Sekots

Road, Baltimore, Maryland (“EmCare debt”). Goldson Decl. Exh. D, at Interrogatory No.

13. That “Crystal Long” was born on                  , had a Social Security number ending

                                                3
       Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 8 of 26



in       , worked at the Department of Corrections, and may have received medical care at

EmCare on August 26, 2014. Northwest Hospital Summary, attached as Exh. G to the

Goldson Decl. A search for the name Crystal Long turned up 14 people in Maryland

alone. Search Results for Crystal Long,Whitepages.com, at

https://www.whitepages.com/name/Crystal-

Long/Maryland/2?l=Maryland&q=Crystal+Long (March 26, 2018). Pendrick placed the

debt with Ability to collect on November 7, 2016, and transmitted the debtor’s address

and date of birth. November 22, 2016 Call Recording, attached as Exh. H to the Goldson

Decl.; Debtor History Report, attached as Exh. I to the Goldson Decl.; Goldston Decl.

Exh. D, at Interrogatory No.10. Ability did not, initially, have Social Security information

for the EmCare debt. Id. Ability used a skip tracer, which provided the Plaintiff’s

address to Ability. Goldson Decl. Exh. E, at 33:1-5. Plaintiff has never received any

services from EmCare. Goldson Decl. Exh. C, at ¶ 6_; Exh. H. The EmCare debt has no

connection to Plaintiff other than a common name and an address added by Ability.


         Ability testified that it has never known whether Plaintiff owes the EmCare debt

Goldson Decl. Exh. E, at 17: 20-18:14, 26:8. Nonetheless, in November 2016, Ability

sent Plaintiff two collection letters on behalf of Pendrick, dated November 14, 2016.

Collection Letters, attached as Exh. J to the Goldson Decl.. The letters sent to Plaintiff

state that Ability is a debt collector attempting to collect a debt. Id.


III.     Plaintiff’s Direct Dispute

         On November 22, 2016, Plaintiff called Ability to inform it that the EmCare debt

did not belong to her. Goldson Decl. Exh. A, at 29:3, Exh. E at 41:6, Exh. H. Plaintiff

spoke to Ability employee Mark Carlson on that call. Goldson Decl. Exh. F, at 25:13-15.

                                               4
      Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 9 of 26



During the phone call, Plaintiff confirmed to Carlson that purported debtor’s Social

Security number, date of birth, and number of dependent did not match hers. Goldson

Decl. Exh. A at 29:5, 17-18, Exh. H. Nonetheless, Carlson indicates that the debt would

be reported to the consumer reporting agencies (“CRAs”) and that Plaintiff’s sole

recourse was to dispute the debt through the CRAs after it was reported. Goldson Decl.

Exh. A, at 29:19-20-30:3-4; Exh. F, at 26:20- 27:5, Exh. H.


        At the time of the call between Plaintiff and Carlson, Ability had not yet reported

the alleged debt to any CRA. Goldson Decl. Exh. A, at 32:13-16. Though Ability’s

representative indicates that it waits for the 30-day statutory validation period to expire

before reporting a debt, Carlson testified that he has no power within that time period to

prevent credit reporting. Goldson Decl. Exh. F, at 23:8-18; Exh. E, at 30:17- 31:9. See

also Goldson Decl. Exh. H. Ability’s representative indicates that such reporting is ”built

in” and uploaded from the information that it has in its collection software. Goldson

Decl. Exh. E, at 18:9-20:5, 28:3-18. No matter what a consumer says when she calls,

Carlson indicated that he does not have the ability to determine whether or not that

consumer actually owes the debt, regardless of the information she provides, nor does he

know who can make that determination. Goldson Decl. Exh. F, at. 24:1-13. Notably,

Carlson has recently been promoted to “supervisor.” Id. at 8:1-5.


IV.     Credit Reporting and Disputes

        Ability has admitted that, at the time it reported the debt to the CRAs, it did not

know whether the Plaintiff actually owed it. Goldson Decl. Exh. E, at 18:2-2017, 26:4-8

On December 17, 2016, however, Plaintiff received an alert from a credit reporting

monitoring service stating that there was “new activity” on her credit report. Goldson

                                              5
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 10 of 26



Decl. Exh. A, at 43:3-8; Trusted ID Alert, attached as Exh. K to the Goldson Decl. Upon

reviewing her credit report, she saw a new derogatory trade line from Ability, indicating

that she was delinquent on a $1,125 debt. Goldson Decl. Exh. A, at 43:3-8; December 17,

2016 Dispute, attached as Exh. L to the Goldson Decl. Though Plaintiff has received

collection letters for two alleged debts, only the larger of the two appeared on her report.

Id.; Goldson Decl. Exh. J.


        Plaintiff disputed the debt through Equifax Information Services, LLC.’s

(“Equifax”) online credit reporting dispute protocol on December 17, 2016. Goldson

Decl. Exh. L. Notwithstanding the mismatch between Plaintiff’s identifying information

and that associated with the EmCare debt, Ability verified the online credit reporting

dispute as accurate. Goldson Decl. Exh. I; Equifax Interrogatory Responses, attached as

Exh. M to the Goldson Decl. at No. 6.


        On January 31, 2017Plaintiff wrote a dispute letter to Experian Information

Solutions, Inc. (“Experian”), Equifax, and TransUnion disputing the Ability trade line.

Goldson Decl. Exh. B. Those letters included her date of birth, her Social Security

number, and her current address. Id. In response to all three CRAs, Ability again verified

the tradeline as accurate. Goldson Decl. Exh. I; Exh. M, at No. 6; Experian Interrogatory

Responses, attached as Exh. Exh. N to the Goldson Decl, at Nos. 10-11; Automated

Consumer Dispute Verification (“ACDV”) forms, attached as Exh. O to the Goldson

Decl.; February 2017 Reinvestigation Report Excerpts, attached as Exh. P to the Goldson

Decl.




                                              6
    Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 11 of 26



        In letters dated May 5, 2017, Plaintiff disputed the tradeline yet again to Experian

and TransUnion. Goldson Decl. Exh. Q. Ability again verified the tradeline as accurate.

Goldson Decl. Exhs. M, O; May 2017 Reinvestigation Report Excerpts, attached as

Exhibit R to the Goldson Decl. Following each of the Plaintiff’s disputes, the CRAs

timely sent Automated Consumer Data Verification forms (“ACDVs”) to Ability

containing Plaintiff’s address, Social Security number, and dates of birth. Goldson Decl.

Exh. O.


        Ability made no effort at contact. Goldson Decl. Exh. E, at 30:10-13;. Ability’s

representative testified that its reinvestigation procedure here involved only looking at the

ACDV dispute information then reviewing the account in their “Debt Master” system,

and that its response was consistent with its procedures. Exh. E, at 22:6-16, 30:4-13.1

Ability has produced no additional information or documents regarding its reinvestigation

procedures. Ability Discovery Responses, attached as Exh. S to the Goldson Decl., at

Interrogatory No. 11, Requests for Production 12-13. Ability’s representative testified

that the credit bureaus bear sole responsibility for how the information it provides is

reported. Goldson Decl. Exh. E, at 28:03-18. She further testified that Ability had

satisfied its obligation by reporting incomplete information regarding the EmCare debt.

Id. at 16-18, 29:4-9. Following the filing of this lawsuit, the Ability tradeline was

removed from Plaintiff’s credit report. Goldson Decl. Exh. A, at 44:10-12; Exh. I.




1In its Interrogatory Responses, Ability stated that it did review information from Pendrick.
Goldson Decl. Exh. S, at No. 11. Ability’s subsequent testimony and account notes conflict with that
statement. Goldson Decl. Exh. E, at 30:10-13; Exh. I. It is not, ultimately, material to the outcome of
this Motion.


                                                    7
     Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 12 of 26



V.      Procedural Background

        Plaintiff filed the instant suit on May 19, 2017 against Defendants, as well as

Equifax Information Systems, LLC, and Experian Information Solutions, Inc., in the

Prince George’s County Circuit Court. Plaintiff filed an Amended Complaint on June 12,

2017. Defendants removed the action to this Court. The Amended Complaint alleges

violations of the FCRA, the FDCPA, the Maryland Consumer Debt Collection Act, and

the Maryland Consumer Protection Act, as well as common law claims for defamation

and declaratory judgment. All parties answered the Complaint and engaged in discovery,

which ended on February 22, 2018. Plaintiff settled with and subsequently dismissed

Equifax and Experian. She now brings this Motion for Partial Summary Judgment.



                               STANDARD OF REVIEW

        Under Federal Rule of Civil Procedure 56(a), summary judgment should be

granted “if the movant shows that there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “A party

opposing a properly supported motion for summary judgment may not rest upon the mere

allegations or denials of his pleadings, but rather must set forth specific facts showing

that there is a genuine issue for trial.” Bouchat v. Baltimore Ravens Football Club, Inc.,

346 F.3d 514, 522 (4th Cir. 2003) (alterations and quotation marks omitted) The court

must “view the facts and draw reasonable inferences in the light most favorable to the

party opposing the summary judgment motion,” but a factual issue must be both genuine

and material in order to defeat a motion, with materiality determined by substantive law.

Scott v. Harris, 550 U.S. 372, 378 (2007) (alteration and quotation marks omitted)

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). “When both parties file

                                              8
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 13 of 26



motions for summary judgment, the court applies the same standards of review.” Loginter

S.A. Y Parque Indus. Agua Profunda S.A. Ute v. M/V NOBILITY, 177 F. Supp. 2d 411,

414 (D. Md. 2001) (citing Taft Broad. Co. v. United States, 929 F.2d 240, 248 (6th Cir.

1991)).



                                        ARGUMENT


   I.          Ability Violated the FCRA

          The FCRA provides a private cause of action for consumers against furnishers of

credit information. 15 U.S.C. § 1681s-2(b); Akalwadi v. Risk Mgmt. Alts., Inc., 336 F.

Supp. 2d 492, 509-10 (D. Md. 2004) (confirming private right of action). Ability falls

squarely within the purview of the FCRA as a furnisher. Akalwadi, 336 F. Supp. 2d at

508 (“a debt collector . . .is covered by the FCRA if it furnishes information to credit

reporting agencies”).     To prove a violation of the FCRA, Plaintiff must show (1) that

she notified the credit reporting agencies of her dispute; (2) that Ability received notice

from the agencies of Plaintiff’s dispute; (3) that the disputed information was inaccurate;

and (4) that Ability did not conduct a reasonable investigation of the dispute and modify

inaccurate information. See Alston v. Branch Banking & Tr. Co., No. GJH-15-3100,

2016 U.S. Dist. LEXIS 115074, at *19 (D. Md. Aug. 26, 2016); Davenport v. Sallie Mae,

Inc., No. PJM 12-1475, 2013 U.S. Dist. LEXIS 111510, at *8 (D. Md. Aug. 2, 2013).

The evidence in the record leaves little question that Plaintiff has shown each element.


          A.      Ability Received Notice of Plaintiff’s Disputes

          The notice element requires little discussion here. Plaintiff disputed Ability’s

reporting to the CRAs on multiple occasions: a December 17, 2016 online dispute to


                                                9
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 14 of 26



Equifax, January 31, 2017 letters to all three CRAs, and May 5, 2017 letters to Experian

and TransUnion. Goldson Decl. Exhs. B, L, Q. The CRAs, in turn, sent Ability

ACDVs timely notifying them of each dispute. Goldson Decl. Exh. O. The ACDVs

included Plaintiff’s address, date of birth, and Social Security number, as well as a code

indicating the substance of Plaintiff’s dispute, that the debt did not belong to her. Id.

Plaintiff has, therefore, satisfied the notice requirement of 15 U.S.C. § 1681i(a)(2), and is

entitled to summary judgment on this element of her FCRA claim.


       B.        Ability Reported Inaccurate Information

       “The purpose of [15 U.S.C] § 1681s-2(b) is to require furnishers to investigate

and verify that they are in fact reporting complete and accurate information to the CRAs

after a consumer has objected to the information in his [or her] file." Gorman v. Wolpoff

& Abramson, LLP, 584 F.3d 1147, 1164 (9th Cir. 2009) (citing Johnson v. MBNA Am.

Bank, NA, 357 F.3d 426, 431 (4th Cir. 2004)). Specifically, “a credit report is not accurate

under [the] FCRA if it provides information in such a manner as to create a materially

misleading impression,” whether through omissions or affirmative misrepresentations.

Saunders v. Branch Banking & Tr. Co., 526 F.3d 142, 148 (4th Cir. 2008). See

also Seamans v. Temple Univ., 744 F.3d 853, 865 (3d Cir. 2014) ("It is not seriously

debated, however, that factually incorrect information is ‘inaccurate’ for purposes of

[the] FCRA.").

       Here, Ability repeatedly reported to the CRAs that Plaintiff was liable for and

delinquent on a debt that did not belong to her. Neither the birthdate nor the Social

Security number matched the information on the EmCare debt. Goldson Decl. Exh. G.

The sole connection with Plaintiff was a common name and an address, found through



                                             10
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 15 of 26



Ability’s skip tracer, that did not match the address on the debt placement. Goldson

Decl. Exh. E, at 33:1-5. Indeed, Plaintiff has lived at the same address for the last five

yeas, a period that encompassed the time that the alleged debt arose. Goldson Decl Exh.

A, at 8:2-17; Exh. G. Erroneous attribution of an account epitomizes inaccuracy on a

report. The tradeline simply had no place on Plaintiff’s credit report.

       The mere existence of the Ability tradeline on Plaintiff’s report “can be expected

to adversely affect credit decisions.” Gorman, 584 F.3d at 1163 (quoting Sepulvado v.

CSC Credit Servs., Inc., 158 F.3d 890, 895 (5th Cir. 1998)). Nonetheless, Ability

confirmed the EmCare tradeline as accurate. Goldson Decl. Exhs. P, R. Even if, as

Ability’s representative testified, it merely provided incomplete information, the FCRA

imposes liability. There can be no genuine dispute that the presence and persistence of

the Ability tradeline on Plaintiff’s report is at best misleadingly incomplete, at worst,

blatantly false. Plaintiff is, accordingly, entitled to summary judgment as to the

inaccuracy of Ability’s reporting.


       C.      Ability Failed to Reasonably Reinvestigate Plaintiff’s Disputes

       The FCRA imposes a clear duty on Ability to reinvestigate Plaintiff’s disputes

and to delete, modify, or permanently block any information “found to be inaccurate or

incomplete or cannot be verified.” 15 U.S.C. § 1681s-2(b). Yet Ability, by its own

admission, took no steps to investigate Plaintiff’s dispute nor to remove the information

from her credit report. Goldson Decl. Exh. E, at _22:6-16, 35:16-36:6 (verification was

“saying that the information we sent over was correct”). Ability has, variously, stated

that it believed the account to be accurate and verified it as such, and that it never knew




                                             11
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 16 of 26



whether the debt belonged to Plaintiff and “verified” incomplete information. Id. at

18:11-20, 35:16-36:6 Under either scenario, Ability violated the FCRA.

        To the extent Ability purported to verify the account as “unknown,” the plain

language of the statute specifically contemplates unverifiable information and, in those

instances, requires deletion. Assessing the plain and legal meanings of “verification,” the

Eleventh Circuit held that “when a furnisher does not already possess evidence

establishing that an item of disputed information is true, §HYPERLINK " requires the

furnisher to seek out and obtain such evidence before reporting the information as

‘verified.’” Hinkle v. Midland Credit Mgmt., Inc., 827 F.3d 1295, 1303 (11th Cir. 2016).

Quite simply, there is no such thing as “verified as unknown” under the terms of the

FCRA. Instead, Ability abdicates all responsibility for the accuracy of its report, shifting

the blame to the CRAs. Goldson Decl. Exh. E, at 28:17-18, 31:17-32:3. The FCRA,

however, imposes an independent investigative duty on furnishers like Ability. See

Hinkle, 827 F.3d at 1303. It was incumbent upon Ability, by the terms of the FCRA, to

do more than mindlessly provide data. Where it had insufficient data to conclusively

determine that Plaintiff owed the debt, it was required to direct the CRAs to delete the

trade line.

        Even if there were, from Plaintiff’s first direct dispute through all of her disputes

via the CRAs, Ability did know that, at minimum, Plaintiff’s date of birth did not match

that associated with the debt at issue. Even a cursory review of Pendrick’s information

would have shown a complete mismatch, had Ability done so. Goldson Decl. Exh. G.

Accordingly, Ability had no basis to report the tradeline as accurate. Ability took no

meaningful steps to affirmatively determine that the account did not belong to Plaintiff.



                                              12
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 17 of 26



       “[T]he plain meaning of 'investigation' clearly requires some degree of careful

inquiry by creditors." Johnson v. MBNA Am. Bank, NA, 357 F.3d 426, 430 (4th Cir.

2004). “[S]uperficial, unreasonable inquiries" will not suffice. Id. at 430-31. Indeed, this

case parallels the Fourth Circuit’s decision in Johnson. There, as here, the furnisher

received notice of the plaintiff’s assertion that she was not responsible for the debt.

There, as here, the furnisher limited its “investigation” to the face of the ACDV. Johnson

357 F.3d at 431. See also Wood v. Credit One Bank, Civil Action No. 3:15cv594, 2017

U.S. Dist. LEXIS 154468, at *56-57 (E.D. Va. Sep. 21, 2017) (finding that it was

“unreasonable for Credit One to simply match [the plaintiff’s] personal identifiers with

those associated with the Account when Wood continued to dispute the Account for

years.”). Cf. Alston v. Branch Banking & Tr. Co., No. GJH-15-3100, 2016 U.S. Dist.

LEXIS 115074, at *22-23 (D. Md. Aug. 26, 2016) (denying motion to dismiss where

plaintiff alleged failure to conduct a reasonable investigation).

       Ability purported to conduct the same type of superficial investigation specifically

eschewed in Johnson. It is doubtful, however, that even such a subpar investigation

occurred: even the face of the ACDV here should have indicated a mismatch in

identifying information, or insufficient information to verify. Ability’s corporate

representative testified that it “the information was unknown was our accurate response.”

Goldson Decl. Exh. E, at 20:1-17. It made no effort to contact Pendrick to verify the debt

information; if it had, the error would have been obvious. Id. at 30:10-13. Likewise, in

spite of multiple specific requests, it has produced no evidence of any procedures that it

has in place to investigate credit disputes. Goldson Decl. Exh. S at Interrogatory 11,

Requests for Production Nos. 12-13.



                                             13
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 18 of 26



       Though the reasonableness of an investigation is typically a fact question, Ability

has admitted that, at best, it used the type of investigation already held to be inadequate.

Even more compelling, all evidence indicates that Ability has conducted no investigation

whatsoever. Under such clear-cut circumstances, summary judgment for Plaintiff is

appropriate. See Robertson v. J.C. Penney Co., No. 2:06cv3KS-MTP, 2008 U.S. Dist.

LEXIS 17159, at *23-24 (S.D. Miss. Mar. 4, 2008) (granting summary judgment to

plaintiff where no investigation occurred).


       D.        Ability’s’ Actions Were Willful

       The Supreme Court held that willfulness under the FCRA may be either

intentional or reckless behavior, “entailing an unjustifiably high risk of harm that is either

known or so obvious that it should be known.” Safeco Ins. Co. of Am. v. Burr, 551 U.S.

47, 69 (2007).

       The entirety of Ability’s handling of Plaintiff’s debt displays stunning levels of

such recklessness. Ability has indicated that, in the first instance, it did not know if

Plaintiff owed the debt it sought to collect from her. Goldson Decl. Exh. E, 18:4-20. Yet

it made no effort to confirm the attribution of the debt to her before reporting it to the

CRAs. Notably, Ability did not report the alleged debt to the CRAs until after Plaintiff

had put the company on notice that the debt did not belong to her. Goldson Decl. Exh. A,

32:13-33:5. Even such explicit notice did not prompt even a pause of Ability’s automatic

credit reporting process. Goldson Decl. Exh. E, at 28:3-18 (credit reporting “built in” to

Ability’s debt collection software); 31:5-9 (“whatever the next credit repoting cycle

would fall after that 30-day [validation] period is when the account would go over”).

Indeed, Ability’s representative and employee testified that nothing can stop its automatic



                                              14
      Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 19 of 26



credit reporting. Id; Exh. F, at 23:19-24:13. Ability, however, does appear to have

prevented the reporting of the second account, rendering its reporting of the larger

account even more egregious. Notably, it only updated its reporting on that account after

Plaintiff filed this lawsuit.

         This Court has found that “ a willful violation claim can be based on an

unreasonable investigation, which is tantamount to a failure to investigate.” Alston v.

Branch Banking & Tr. Co., No. GJH-15-3100, 2016 U.S. Dist. LEXIS 115074, at *22-23

(D. Md. Aug. 26, 2016). The Safeco Court found that willfulness may arise where a

furnisher “ran a risk of violating the law substantially greater than the risk associated with

a reading that was merely careless." Safeco, 551 U.S. at 69.

         Ability completely abdicated its investigation responsibility, “verifying” the

account as unknown rather than meet even the minimal requirements of confirming a

Social Security number and birth date. In contravention of the FCRA’s clear terms,

Ability has renounced any responsibility for its credit reporting, purporting to shift the

blame for its inaccuracies and information deficiencies to the CRAs. The FCRA allows

no such out, and Ability’s practice of evading responsibility can be nothing other than a

reckless disregard for the statutes requirements. Such a failure can be considered nothing

less than total disregard for the requirements of the statute.

         As with the question of the reasonableness of Ability’s investigation, willfulness

is typically a question of fact. The record here, however, is replete with indisputable

evidence of Ability’s stunning dereliction of all statutory responsibility, and summary

judgment is appropriate here.


II.      Defendants Violated the FDCPA



                                              15
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 20 of 26



       “The FDCPA is a strict liability statute and a consumer only has to prove one

violation to trigger liability.” Akalwadi v. Risk Mgmt. Alts., Inc., 336 F. Supp. 2d 492,

500 (D. Md. 2004). See also Bradshaw v. Hilco Receivables, LLC, 765 F. Supp.2d 719,

725 (D. Md. 2011). In order to establish a violation, Plaintiff need only show that (1) she

is a consumer who allegedly owes the debt or a person who has been the object of efforts

to collect a consumer debt; (2) defendants are “debt collectors” as defined by the Act; and

(3) the defendants have engaged in any act or omission in violation of the prohibitions or

requirements of the FDCPA. See Dikun v. Streich, 369 F. Supp. 2d. 781, 784-85 (E.D.

Va. 2005). Though both Pendrick and Ability are liable for the FDCPA violations here,

Ability’s actions triggered the FDCPA violations.


       A.      Plaintiff Is A Consumer

       Plaintiff’s status as a consumer within the meaning of the FDCPA is hardly in

dispute. Medical debt falls under the rubric of “consumer debt” under the FDCPA. . 15

U.S.C.A. § 1692a(5); Creighton v. Emporia Credit Serv., Inc., 981 F. Supp. 411, 414

(E.D. Va. 1997) (plaintiff was a consumer because medical debt at issue falls under the

definition in 15 U.S.C. § 1692a(5)). Summary judgment is thus appropriate here.


       B.      Defendants Are Debt Collectors Engaged in Debt Collection

       Defendants’ status as debt collectors is equally indisputable. A “debt collector”

under the FDCPA may be either: (1) a person whose “principal purpose… is the

collection of any debts”; or (2) any person who “regularly” collects debts “owed or due

another.” Pendrick falls under the first definition; Ability satisfies both.




                                              16
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 21 of 26



                1. Ability’s Principal Purpose Is Collection of Debts on Behalf of
                   Others

        During a call with the Court on January 25, 2018, Ability stipulated to its debt

collector status. Even absent such a stipulation, however, the record provides ample

evidence. Ability’s website uses the tagline, “The Collection Agency with a Sense of

Urgency.” Home Page, Ability Recovery Services, LLC, at

http://abilityrecoveryservices.com/ (March 26, 2018). Likewise, the letters sent to

Plaintiff state that Ability is a debt collector attempting to collect a debt. Goldson Decl.

Exh. j. Ability’s corporate designee testified that Ability has 30 of the 37 employees of

the company are collectors, and they are collecting on 500,000 different accounts on

behalf of Pendrick. Goldson Decl. Exh. E, at 9:8-11, 15:4.. Ability also identified itself

as a debt collector attempting to collect a debt in the collection letters sent to Plaintiff.

Goldson Decl. Exh. J. Ability is registered with the State of Maryland as a collection

agency with license # 04-6393.


                2. Pendrick’s Principal Purpose Is the Collection of Debts

        Pendrick’s debt collector status, though less direct, is no less clear. Pendrick

purchases delinquent consumer medical debts then places those consumer debts with

collection agencies. Goldson Decl. Exh. D, at Interrogatory Nos. 22, 23. Pendrick does

not resell any of these accounts, but rather places every account on its books with

collections agencies, with the intent of the allowing those collection agencies to collect

consumer debt on its behalf. Id. at Interrogatory Nos. 17, 24.


        As a debt collector in its own right, Pendrick assumes vicarious liability for the

collection actions of its agent, Ability. See Janetos v. Fulton Friedman & Gullace, LLP,



                                               17
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 22 of 26



825 F.3d 317, 325 (7th Cir. 2016) ( “A debt collector should not be able to avoid liability

for unlawful debt collection practices simply by contracting with another company to do

what the law does not allow it to do itself.”); Pollice v. Nat'l Tax Funding, L.P., 225 F.3d

379, 405 (3d Cir. 2000) (“[A]an entity that is itself a debt collector—and hence subject to

the FDCPA—should bear the burden of monitoring the activities of those it enlists to

collect debts on its behalf.”)(internal citations omitted); Richardson v. Rosenberg &

Assocs. LLC, No. CIV. WDQ-13-0822, 2014 WL 823655, at *5 (D. Md. Feb. 27, 2014)

(debt collector may be held vicariously liable for the FDCPA violations of its attorneys

who were collecting on its behalf).


        C.      Defendants Violated FDCPA § 1692f

        Quite simply, Ability violated the FDCPA in attempting to collect a debt from the

Plaintiff that she does not owe. 15 U.S.C. § 1692f(1). “Congress clearly intended to

protect people subject to harassment by debt collectors as a result of mistaken identity.”

See Johnson v. Bullhead Investments, LLC, No. 1:09CV639, 2010 WL 118274, at *6

(M.D.N.C. Jan. 11, 2010) (citing S.Rep. No. 95–382, at 4 (1997), reprinted in 1977

U.S.C.C.A.N. 1695, 1699). See also Davis v. Midland Funding, LLC, 41 F. Supp. 3d

919, 926 (E.D. Cal. 2014) (“Because dunning the wrong person is among the most unfair

of debt collection practices, the FDCPA should be interpreted in a manner that

incentivizes debt collectors to ensure that they direct their efforts at the right person.”)


        Here, Ability admitted that it never knew whether the Plaintiff owed the debt that

it was attempting to collect. Goldson Decl. Exh. E, at 18:11-20; 26:4-8. It nonetheless

blindly sent out collection letters in the hope of finding the right person—or convincing

the wrong person to pay. Goldson Decl. Exh. J. Moreover, Ability treated the validation

                                              18
    Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 23 of 26



period as merely a waiting period before credit reporting, irrespective of any disputes in

the interim. Goldson Decl. Exh. E, at 31:5-9; Exh. H. Such behavior confirms the need

for the FDCPA’s protection against “unscrupulous debt collectors, and particularly

buyers of junk debt who cannot verify the accuracy of the debts or the identities of the

debtors” pushing forward “against all persons having a similar name as the debtor, on the

chance that one of the named defendants is the true debtor, or that one of the named

defendants will simply pay the debt allegedly owed.” Johnson, 2010 WL 118274, at *6.


        Neither Defendant has offered any evidence that the Plaintiff owed the debt,

despite numerous requests. Goldson Decl. Exh. D, at Request for Production No. 1

Interrogatory No. 8; Exh. E, at 17: 20-18:14, 26:8;Exh. G; Exh. S, at Interrogatory Nos.

6, 15. To the contrary, they have produced debt information with someone else’s

identifiers—or no identifiers at all. Goldson Decl. Exhs. G, H, I. Though it should have

recognized its lack of information before making any collection attempts, Ability was on

notice as of November 22, 2016 that Plaintiff did not owe the EmCare debt and that none

of the personal identifiers in its system, other than her common name and skip-traced

address, matched the debtor’s information.2 This clear indication of mistaken identity did

not, however, keep Ability from reporting derogatory information about Plaintiff to the

CRAs and repeatedly confirming that same information.


        “It is difficult to conceive of a more unfair debt collection practice than dunning

the wrong person.” Davis, 41 F. Supp. 3d at 925. By pursuing consumers with such little



2Plaintiff’s date of birth did not match the one Mr. Carlson indicated was associated with the debt.
Goldston Decl. Exh. H. Likewise, Plaintiff’s address did not match that provided by Pendrick to
Ability. Goldson Decl. Exh. D, at Interrogatory Nos. 11-13. None of Plaintiff’s information, including
her Social Security number, matched the underlying debt information. Goldson Decl. Exh. G.


                                                  19
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 24 of 26



regard for accurate targeting or accurate credit reporting, the Defendants’ actions present

a clear violation of Section 1692f, ripe for summary judgment.


       E.      Defendants Violated FDCPA § 1692e

       Under the statute, debt collectors may not use any “false, deceptive, or

misleading” statements in the course of their collection activities. 15 U.S.C. § 1692e(10).

“[T]he test is the capacity for the statement to mislead; evidence of actual deception is

unnecessary.” National Financial Services, 98 F.3d at 139 (4th Cir.1996) . Whether a

communication is false, misleading, or deceptive in violation of § 1692e is determined

from the vantage of the “least sophisticated consumer.” United States v. Nat'l Fin. Servs.,

Inc., 98 F.3d 131, 136 (4th Cir.1996). See also Russell v. Absolute Collection Servs.,

Inc., 763 F.3d 385, 394 (4th Cir. 2014).


       Ability sent two dunning letters to Plaintiff without, by its own admission,

knowing if the debts at issue belonged to her. Goldson Decl. Exh. E, at 17: 20-18:14,

26:8. Yet the letters betrayed no such uncertainty in their demand for payment.

Likewise, as discussed above, Ability also repeatedly reported and verified a debt for the

wrong person, putting into the public eye information it knew or should have known to be

false. Moreover, Ability’s employee told Plaintiff that it had no way to stop the false

credit reporting, a statement that, if true, runs afoul of its obligations under the FCRA,

and if false, smacks of coercion. Goldson Decl. Exh. H. See Nat’l Fin. Servs., Inc., 98

F.3d 131 (upholding summary judgment ruling for violation of Section 1692e(10)

because the “notices falsely threatened legal action”).




                                             20
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 25 of 26



       Ability’s use of misleading dunning letters and credit reporting, both in substance

and in process, is precisely the sort of activity targeted by Section 1692e. See Creighton

981 F. Supp. at 416 (granting summary judgment on a Section 1692e(10) claim because

the collection notices were “substantively false and deceptive.”) Summary judgment is,

therefore, appropriate here.



                                    CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that her Motion for

Partial Summary Judgment be granted as to her FCRA and FDCPA claims.

                                             Respectfully submitted,
Dated: March 27, 2018

                                             /s/ Courtney L. Weiner
                                             Courtney L. Weiner (#19463)
                                            Law Office of Courtney Weiner PLLC
                                            1629 K Street NW, Suite 300
                                            Washington, DC 20006
                                            PH: 202-827-9980
                                            cw@courtneyweinerlaw.com


                                            /s/ Ingmar Goldson
                                            Ingmar Goldson
                                            The Goldson Law Office
                                            1734 Elton Road, Suite 210
                                            Silver Spring, MD 20903
                                            Phone: 240-780-8829
                                            igoldson@goldsonlawoffice.com


                                            Attorneys for Plaintiffs




                                            21
   Case 8:17-cv-01955-GJH Document 46-1 Filed 03/27/18 Page 26 of 26



                            CERTIFICATE OF SERVICE

       I certify that on March 27, 2018, a copy of the foregoing Motion for Summary

Judgment, along with the Memorandum of Law in Support thereof, and all exhibits, were

served via ECF and U.S. Mail to all counsel of record.


                                     /s/ Ingmar Goldson




                                           22
